                                Case 1:18-cv-11693-GBD Document 17 Filed 04/04/19 Page 1 of 1
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LiebowitzOLaw Firm, PLLC
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                                                                                                                                        VALLEY STREAM, NY 11580
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        Honorable George B. n'aniels                                                                          ..     AP/? 0 4 2019       Th_e initial confe~      .D
        United States District Court                                                                                                     adjourned from Aen~e 18
        Southern District of New York                                                                                                   9 :30 a.m to A • Pn 17, 2019 at
        500 Pearl St., Rm. l lA                                                                                                         9~-3- a.m.·      Pnl 24, 2019 at
        New York, NY 10007                                                                                                               ,111,  ~n    f) j )  _ O
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                        Stelzer v. Barstool Sports. Inc .. 1:18-cv-11693 (GBD)
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        Re:                                                                                                                                          ~--• B. };,    !.\ ;\ T;n-:,LS
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        Dear Judge Daniels:

                 We represent Plaintiff Brigitte Stelzer in the above-captioned case and write pursuant to
        Section 2.E. of Your Honor's Individual Practices to respectfully request an adjournment of the
        initial case management conference.

                (I) the current date of the conference is April 17, 2019 at 9:30 a.m.

                (2) Defendant made a previous unopposed request for an adjournment of the March 20,
                    2019 conference;

                (3) The Court granted Defendant's previous request for an adjournment;

                (4) Counsel for Defendant consents to the request on grounds that Plaintiffs counsel will be
                    out of town the week of April 15.



                                                                                                                   Respectfully Submitted,

                                                                                                                   /j ameshfreeman/
                                                                                                                   James H. Freeman

                                                                                                                   Counsel for Plaintiff Brigitte Stelzer




                                                                   Liebowitz                          Law Firm, PLLC
